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 6
     Representing the United States of America
 7
                            UNITED STATES DISTRICT COURT
 8
                                 DISTRICT OF NEVADA
 9                                                -oOo-

     UNITED STATES OF AMERICA,                        )     Case No.: 2:16-cr-00326-LRH-CWH
10                                                    )
                    Plaintiff,                        )
11                                                    )     Stipulation for Protective Order
                                                      )
            vs.                                       )
12
                                                      )
     JUSTIN DAVIS,                                    )
13
                                                      )
                    Defendant.                        )
14                                                    )
                                                      )
15                                                    )

16          IT IS HEREBY STIPULATED AND AGREED between the parties, Steven W. Myhre,

17   Acting United States Attorney for the District of Nevada, Jared L. Grimmer, Assistant United

18   States Attorney, and Brian Pugh, Assistant Federal Public Defender, counsel for defendant

19   JUSTIN DAVIS, that this Court issue an Order protecting from disclosure to the public any

20   discovery documents containing the personal identifying information such as social security

21   numbers, driver’s license numbers, dates of birth, or addresses, of participants, witnesses and

22   victims in this case. Such documents shall be referred to hereinafter as “Protected Documents.”

23   The parties stipulate as follows:

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 1          1.      Protected Documents which will be used by the government in its case in chief

 2   include personal identifiers, including social security numbers, driver’s license numbers, dates of

 3   birth, and addresses, of participants, witnesses, and victims in this case.

 4          2.      Discovery in this case is voluminous. Many of the documents include personal

 5   identifiers. Redacting the personal identifiers of participants, witnesses, and victims would

 6   prevent the timely disclosure of discovery to defendants.

 7          3.      The United States agrees to provide Protected Documents without redacting the

 8   personal identifiers of participants, witnesses, and victims.

 9          4.      Access to Protected Documents will be restricted to persons authorized by the

10   Court, namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts,

11   and secretaries employed by the attorney(s) of record and performing on behalf of defendant.

12          5.      The following restrictions will be placed on defendant, defendant’s attorney and

13   the above-designated individuals unless and until further ordered by the Court. Defendant,

14   defendant’s attorney and the above-designated individuals shall not:

15                  a.      make copies for, or allow copies of any kind to be made by any other person

16   of Protected Documents;

17                  b.      allow any other person to read Protected Documents; and,

18                  c.      use Protected Documents for any other purpose other than preparing to

19   defend against the charges in the Indictment or any further indictment arising out of this case.

20          6.      Defendant’s attorney(s) shall inform any person to whom disclosure may be made

21   pursuant to this order of the existence and terms of this Court’s order.

22          7.      The requested restrictions shall not restrict the use or introduction as evidence of

23   discovery documents containing personal identifying information such as social security numbers,

24   driver’s license numbers, dates of birth, and addresses during the trial of this matter.

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 1           8.      Upon conclusion of this action, defendant’s attorney(s) shall return to government

 2   counsel or destroy and certify to government counsel the destruction of all discovery documents

 3   containing personal identifying information such as social security numbers, driver’s license

 4   numbers, dates of birth, and addresses within a reasonable time, not to exceed thirty days after the

 5   last appeal is final.

 6           DATED this 6th day of September 2017.

 7
                                                          Respectfully Submitted,
 8
      For Defendant Justin Davis:                         For the United States:
 9
      RENE L. VALLADARES                                  STEVEN W. MYHRE
10    Federal Public Defender                             Acting United States Attorney

11

12                   /s/                                                 /s/
      BRIAN PUGH                                          JARED L. GRIMMER
13    Assistant Federal Public Defender                   Assistant United States Attorney
      Attorney for Justin Davis
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17    IT IS SO ORDERED:

18

19     September 8, 2017
      ___________________                               ____________________________________
20    Date                                              UNITED STATES MAGISTRATE JUDGE

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